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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

TIKTOK INC. and BYTEDANCE
LTD.,

                       Petitioners,
v.

MERRICK B. GARLAND, in his                 No. 24-1113 (Lead)
official capacity as Attorney General
of the United States,

                       Respondent.


 BRIAN FIREBAUGH, CHLOE JOY
 SEXTON, TALIA CADET, TIMOTHY
 MARTIN, KIERA SPANN, PAUL
 TRAN, CHRISTOPHER
 TOWNSEND, and STEVEN KING,
                                               No. 24-1130
                       Petitioners,
      v.

 MERRICK B. GARLAND, in his
 official capacity as Attorney General
 of the United States,

                 Respondent.
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BASED POLITICS INC.,

                       Petitioner,
v.
                                                    No. 24-1183
MERRICK B. GARLAND, in his
official capacity as Attorney General
of the United States,

                       Respondent.


 ON PETITION FOR REVIEW OF THE PROTECTING AMERICANS
  FROM FOREIGN ADVERSARY CONTROLLED APPLICATIONS
                     ACT (H.R. 815)


 SUPPLEMENTAL ADDENDUM IN SUPPORT OF EMERGENCY
MOTION FOR INJUNCTION PENDING SUPREME COURT REVIEW

 Ambika Kumar                         Jeffrey L. Fisher
 Tim Cunningham                       O’MELVENY & MYERS LLP
 Xiang Li                             2765 Sand Hill Road
 DAVIS WRIGHT TREMAINE LLP            Menlo Park, California 94025
 920 Fifth Avenue, Suite 3300         (650) 473-2633
 Seattle, Washington 98104            jlfisher@omm.com
 (206) 757-8030
 ambikakumar@dwt.com                  (continued on inside cover)
 timcunningham@dwt.com
 xiangli@dwt.com

                     Attorneys for Creator Petitioners
                                 ———————
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 Elizabeth A. McNamara                James R. Sigel
 Chelsea T. Kelly                     Adam S. Sieff
 DAVIS WRIGHT TREMAINE LLP            DAVIS WRIGHT TREMAINE LLP
 1251 Avenue of the Americas          50 California Street, Suite 2300
 New York, New York 10020             San Francisco, California 94111
 (212) 489-8230                       (415) 276-6500
 lizmcnamara@dwt.com                  jamessigel@dwt.com
 chelseakelly@dwt.com                 adamsieff@dwt.com

                                      Joshua Revesz
                                      O’MELVENY & MYERS LLP
                                      1625 Eye Street NW
                                      Washington, DC 20006
                                      (202) 383-5261
                                      jrevesz@omm.com

                     Attorneys for Creator Petitioners



 Jacob Huebert
 Jeffrey M. Schwab
 LIBERTY JUSTICE CENTER
 7500 Rialto Blvd.
 Suite 1-250
 Austin, Texas 78735
 (512) 481-4400
 jhuebert@ljc.org
 jschwab@ljc.org




               Attorneys for Petitioner Based Politics, Inc.
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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

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 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                      Respondent.

DECLARATION OF TALIA CADET IN SUPPORT OF PETITIONERS’
     EMERGENCY MOTION FOR INJUNCTION PENDING
              SUPREME COURT REVIEW

I, Talia Cadet, declare as follows:

     1.    I make this declaration from personal knowledge.

     2.    I incorporate by reference the facts stated in my June 18, 2024

declaration.

     3.    If the Act, which bans TikTok in the United States, takes

effect in January 2025, I will suffer substantial and immediate harm.

     4.    As described in further detail in my original declaration, I




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have dedicated years to creating content on TikTok that promotes Black

authors and small businesses and shares my personal experiences with

the world. The community that I have found and helped to foster on

TikTok has greatly impacted my life—providing me with a sense of

purpose, joy, connection, expression, and information. The loss of my

ability to speak to and learn from this community even for a few months

would create a damaging void in my life and the lives of many other

TikTok users and creators.

     5.    I currently have specific engagements scheduled for next year

that would be threatened if the ban takes effect as scheduled in January.

Specifically, I am scheduled to participate in several book talks in

February, March, and April 2025 that I would normally promote heavily

on my TikTok account, resulting in increased visibility and potential

sales for the authors as well as possible future opportunities for me. I

also have pending paid partnerships for books that are scheduled to

publish in February 2025, which would be threatened if TikTok is banned

as scheduled. Losing the ability to boost these authors and share these

book talks with my over 145,000 TikTok followers would be very painful

and also impact me financially.    It would also impact the authors I


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promote, many of whom are independent or under-represented and

under-resourced in the traditional publishing industry, and rely on

TikTok creators like me to expand their books’ reach.

     6.    Specifically, if the ban takes effect in January, my annual

income will decrease. Last year, I made about 15 percent of my annual

income from my work on TikTok; and I stand to make more this year.

The loss of this supplemental income and the financial freedom it allows

me would be difficult.

     7.    As I explained in further detail in my original declaration, I

do not believe that I could replicate my success with TikTok on any other

social media platform. Despite having posted some similar content on

other apps like Instagram, I have not seen the same rates of growth and

engagement—and my follower numbers show it. Additionally, a number

of my TikTok followers have told me that they do not even use the other

leading social media apps like Facebook or Instagram. So while I might

continue creating content on Instagram in the event of a TikTok ban, I

know it will not be the same.

     8.    I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout


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this judicial process.

        I declare under penalty of perjury that the foregoing is true and

correct.

        Signed in Capitol Heights, Maryland this 9th day of December,

2024.




                                                   Talia Cadet




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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                      Respondent.

     DECLARATION OF BRIAN FIREBAUGH IN SUPPORT OF
     PETITIONERS’ EMERGENCY MOTION FOR INJUNCTION
             PENDING SUPREME COURT REVIEW

I, Brian Firebaugh, declare as follows:

     1.    I make this declaration from personal knowledge.

     2.    I incorporate by reference the facts stated in my June 18, 2024

declaration.

     3.    If the Act takes effect as scheduled on January 19, 2025, it

will have immediate and devastating consequences on myself and my

family.




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      4.   I earn most of my income through selling my ranch products

promoted on TikTok. If the Act takes effect and TikTok is banned, even

for a few months, I believe my ranch will no longer generate sufficient

revenue for my family to survive. We do not have any equivalent means

to market our products and, as first-generation ranchers, do not have the

same longstanding relationships or financial reserves as more

established ranches. We do not have sufficient financial reserves to

weather even a temporary shutdown of TikTok.

      5.   I also have contracts with third-party companies to promote

certain products on my TikTok account that would become obsolete if the

Act takes effect. Many of these companies are small local businesses that

rely on me and other creators to market their products.

      6.   As a result, if TikTok is banned, I would be forced to accept

work outside of my ranch and believe I would eventually have to sell the

ranch. For me, the most difficult part of finding a new job is that I would

have to hire someone else to provide daily care for my young son Rooster,

instead of caring for him at home on the ranch as my wife and I have for

2.5 years. My wife and I believe it is very important to raise Rooster in

a family environment where he feels loved and cared for, and is able to


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learn about nature and animals—as he is on our ranch. Taking him out

of this nurturing environment would break my heart.

      7.   Not only would a TikTok ban quickly dismantle my business

and my family’s way of life, it would also immediately eliminate the most

effective tool for me to communicate with and support the agricultural

community in Texas. As stated in my opening declaration, TikTok has

allowed me to raise donations of critical cattle feed and antibiotics to send

to ranchers in need after a series of devastating wildfires, and helped me

to advertise beef-drop offs for folks struggling with food security.

      8.   I anticipate continuing to use TikTok to address any natural

disasters or other community service needs that may arise in the next

few months. Even if TikTok is only temporarily banned, I will lose my

ability to help fellow ranchers respond to any emergencies, and I worry

that these ranchers might be unable to recover.

      9.   In addition to community service, I have also used TikTok to

both share my knowledge about Texas longhorn cattle and the

agricultural lifestyle and to learn from and connect with other ranchers.

In an environment like ranching that can be very isolating, this form of

community-building, education, and mentorship is extremely valuable


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and its loss—even for a few months—would be highly damaging.

      10.   If TikTok was banned, I know I would not be able to replicate

the same experience and community impact or generate the same

revenue through using other social media apps. As stated in my opening

declaration, I have tried posting content on other platforms and failed to

get anywhere near the same engagement as I have on TikTok. Videos I

post on TikTok will sometimes garner millions of views, while the exact

same video on other platforms may end up with just a few hundred views.

No other platform compares, and none of them would save my ranch from

financial ruin or allow me the same ability to support my community.

      11.   Thinking about the potential TikTok ban in January 2025 fills

me with dread. I take pride in being able to provide for my family and

help my community in times of need. Especially as a Marine Corps

veteran, the idea that the government could take this all away from me

and other Americans, even temporarily, is appalling.

      12.   I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout

this judicial process.

I declare under penalty of perjury that the foregoing is true and correct.


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                                                             Supp. Add. - 8
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      Signed in Hubbard, Texas this 9th day of December, 2024.




                                                  Brian Firebaugh




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            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                       Respondent
                 .

DECLARATION OF STEVEN KING IN SUPPORT OF PETITIONERS’
     EMERGENCY MOTION FOR INJUNCTION PENDING
               SUPREME COURT REVIEW

I, Steven King, declare as follows:

      1.   I make this declaration from personal knowledge.

      2.   I incorporate by reference the facts stated in my June 17, 2024

declaration.

      3.   If the Act, which bans TikTok in the United States, takes

effect in January 2025, it will have immediate and severe consequences

on me, my family, and my community.




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      4.   If the ban takes effect, I would be devastated to lose the

community that I have found and fostered on TikTok. As described

further in my original declaration, I create content on TikTok that is not

only entertaining but also deeply personal, and I have connected with

countless followers and fellow creators over topics of great importance to

me—such as my experience as a gay man in Arizona, my challenging

childhood involving living in a juvenile institution and boys’ homes, and

my sobriety journey.

      5.   The TikTok format allows me to express myself authentically

and share these vulnerable stories in a way that I have not found on other

social media. It is an honor and a privilege to be able to inspire others

with my experiences or give them a glimmer of hope when they’re in a

dark place.    Losing the ability to speak to and engage with this

community—even for a temporary period of time—would be very

difficult. You never know when a kind word or inspiring message can

make a big difference for someone.

      6.   If the Act takes effect, I would not only be unable to create

content on TikTok and speak to my followers, but I would also be unable

to consume content. This would greatly impact me as I get all of my news


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from TikTok, by following certain local and international journalists on

TikTok whom I trust to produce unbiased and authentic news. The loss

of these sources of information, especially during a time like January

2025 when the U.S. government is changing administrations, would be

very detrimental to me and other Americans.

      7.   In addition to the loss of community and information, a

TikTok ban would be financially devastating to me. I make almost all

my income from TikTok, including from the TikTok Creator Rewards

Program, LIVE videos, and brand deals. Thus, if TikTok is banned, I

would immediately lose my career and the ability to financially support

myself as a creator. I would also lose my ongoing partnerships with third

parties that rely on my ability to share content with my 6.8 million

TikTok followers. As described further in my original declaration, I have

not been able to build the same community on other social media

platforms, nor have I been able to monetize my content to the same

extent.

      8.   The thought of no longer being able to work as a full-time

creator fills me with sadness and anxiety. When I worked in healthcare

administration, I always felt that my creative side was not being fulfilled,


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and I longed for an outlet for self-expression. I was so grateful when I

discovered that my TikTok content was resonating with the public to the

point that I was able to amass millions of followers and eventually quit

my job to pursue my passion of creating content full-time.           TikTok

completely changed my life and opened up my world. The idea that the

government could wipe away years of my hard work and force me back to

square one—even before the conclusion of the judicial process—terrifies

me.

      9.    I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout

this judicial process.

      I declare under penalty of perjury that the foregoing is true and

correct.

      Signed in Buckeye, Arizona this 9th day of December, 2024.




                                                          Steven King




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           IN THE UNITED STATES COURT OF APPEALS
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                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                      Respondent.

      DECLARATION OF TIMOTHY MARTIN IN SUPPORT OF
     PETITIONERS’ EMERGENCY MOTION FOR INJUNCTION
             PENDING SUPREME COURT REVIEW

I, Timothy Martin, declare as follows:

      1.   I make this declaration from personal knowledge.

      2.   I incorporate by reference the facts stated in my June 17, 2024

declaration.

      3.   If the Act, which bans TikTok in the United States, takes

effect as scheduled on January 19, 2025, it will significantly and

immediately impact me and my community.




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      4.   My one million followers on TikTok rely on me for positive,

uplifting, and informative content about college and professional sports,

especially American football, which I will no longer be able to share if the

Act takes effect.    Nor would I be able to converse with or receive

information from all of the wonderful connections I have made through

the app—including many former athletes who, like me, turned to creating

content on TikTok to rediscover their voices after they stopped playing

sports. The loss of this community would be devastating.

      5.   Additionally, if the ban takes effect as planned, I would lose

the opportunity to cover specific sporting events in early 2025.          For

example, I expect to cover the NFL playoffs and the Super Bowl over

TikTok, which take place in January and February of 2025. A prominent

university has also asked me to come visit campus in the spring and

promote their football team over TikTok—a project I was really looking

forward to because of my passion for college football. If the ban takes

effect, I will lose both the experiences and the income that these exciting

opportunities would have afforded me.

      6.    Even though the ban is not yet in place, I have already

noticed that companies and sponsors are less likely to enter into long-


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term contracts that might be impacted by a ban. For example, by this

time last year, I was already having discussions with third parties about

covering March Madness on my TikTok channel, but this year, there has

not been similar outreach.

        7.   I will suffer significant financial losses if the ban takes effect.

I have been able to earn as much as $4,000 to $5,000 each month because

of my TikTok videos, which on average, more than doubles the income

that I am able to make as a new college football coach. This income

stream would disappear immediately if TikTok is banned in January.

        8.   I would not be able to make this same income—or more

importantly, create the same community—on another app. As explored

in more detail in my opening declaration, I have tried posting the same

content on Instagram and YouTube, but have not had anywhere near the

same success in terms of generating followers or income.                 I have

approximately 100 times more followers on TikTok than these other

apps.

        9.   Without the same community or financial benefits, I may stop

creating content on social media entirely.




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      10.   I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout

this judicial process.

      I declare under penalty of perjury that the foregoing is true and

correct.

      Signed in Mayville, North Dakota this 9th day of December, 2024.




                                                          Timothy Martin




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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                     Respondent.

     DECLARATION OF CHLOE JOY SEXTON IN SUPPORT OF
     PETITIONERS’ EMERGENCY MOTION FOR INJUNCTION
             PENDING SUPREME COURT REVIEW

I, Chloe Joy Sexton, declare as follows:

      1.   I make this declaration from personal knowledge.

      2.   I incorporate by reference the facts stated in my June 18, 2024

declaration.

      3.   If the Act, which bans TikTok in the United States, takes

effect in January 2025 as planned, it will have an immediate and

devastating impact on me, my family, and my community.




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      4.   If the ban takes effect, I would lose the incredible community

that I have found on TikTok.       This community has supported me

emotionally through some of my life’s greatest challenges, including the

death of my mother; provided me with useful knowledge and information,

such as regarding parenting and grief; and made me laugh when I needed

it the most. I worked very hard to build this community, and cannot

replicate it on other platforms, as I have already tried and failed to do.

Losing this community—whom I currently interact with through TikTok

on a daily basis—would create an irreplaceable void in my life.

      5.   In addition to losing this invaluable community, a TikTok ban

would destroy my business. I rely almost entirely on TikTok to market

my cookie business, because I found that traditional marketing and other

social media apps did not successfully promote my products. As detailed

further in my original declaration, despite posting the exact same videos

about my cookies on TikTok, Instagram, and Facebook for about a year,

the videos performed vastly better on TikTok and reached multitudes

more people.    There is simply no replacement for TikTok as a free

platform where I can speak to millions of people about my cookies and




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also about personal details of my life that generate interest in my

company and increase brand loyalty.

      6.     As the owner of a small business, I do not have the capital

needed to effectively promote the company through traditional marketing

streams to anywhere near the same level that TikTok affords me for free.

As a result, even if TikTok was banned for only a few months, I do not

believe that my company could survive without it.

      7.    I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout

this judicial process.

      I declare under penalty of perjury that the foregoing is true and

correct.

      Signed in Memphis, Tennessee this 9th day of December, 2024.




                                                    Chloe Joy Sexton




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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                       Respondent.

 DECLARATION OF KIERA SPANN IN SUPPORT OF PETITIONERS’
      EMERGENCY MOTION FOR INJUNCTION PENDING
                SUPREME COURT REVIEW

I, Kiera Spann, declare as follows:

      1.   I make this declaration from personal knowledge.

      2.   I incorporate by reference the facts stated in my June 18, 2024

declaration.

      3.   If the Act, which bans TikTok in the United States, takes

effect as scheduled on January 19, 2025, it will severely harm me and the

communities that I support.




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      4.   TikTok has played a significant role in my life largely because

of the community of domestic violence and sexual assault survivors that

it has fostered.     As a survivor of assault myself, this topic is very

important to me. As explained further in my opening declaration, I have

engaged with this TikTok community of survivors from all over the world

to share experiences, learn, promote reform, and advocate for change.

      5.   If the Act takes effect in January and TikTok is banned, this

community will dissolve. We cannot simply move to another social media

app. Some other apps make it very difficult to talk about sexual assault

by flagging such videos as violating community standards or terms of

service—even when they are not graphic or descriptive. This makes it all

but impossible to create an organic community among survivors where

they can process their experiences without having to resort to code words

or self-censorship. Additionally, numerous survivors have told me that

they find it easier to anonymously participate in these sensitive

conversations on TikTok instead of forums like Instagram or Facebook

where one’s profile is tied more strongly to one’s families, friends, and

personal identities. When it comes to the survivor community, there

simply is no replacement for TikTok.


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      6.   The loss of this community—even for a few months—would be

devastating. People experience domestic violence and sexual assault

every day and look to the TikTok community as a place of understanding,

support, resources, and refuge. Additionally, even a temporary ban on

TikTok would significantly curtail our community’s efforts to promote

policy changes by universities and state and local legislatures to protect

survivors—changes that I have seen TikTok play a direct role in

accelerating. Activism in the survivor community—like most activism—

is most effective when it is timely, direct, and concrete. Even a temporary

ban would damage my community because activism in August will not

effectively address sexual assaults occurring in January or February.

      7.   In addition to the horrible loss of this community, my personal

speech and expression would also be immediately and irreparably

harmed if the Act takes effect. I regularly use my TikTok account to

reach my over 771,000 followers—an audience more than 60 times larger

than my next largest following (12,100 followers on Instagram). One of

the topics I often discuss on TikTok is political news—for example, I

closely covered every state’s result from the U.S. presidential election

this fall, as well as a significant number of other important down-ballot


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races. If TikTok is banned starting on January 19, 2025, I will be unable

to reach my TikTok followers—including to discuss timely and relevant

topics such as the Inauguration of President-Elect Donald Trump on

January 20, 2025, and the ensuing changes in the administration. I will

also lose the ability to obtain news on TikTok during this period of

transition—which would greatly impact me as I consider TikTok to be

one of the most authentic sources of information. Even if the TikTok ban

is eventually lifted, I will have permanently lost the ability to timely

react to, comment upon, and learn about these historical events with the

audience and community of my choice.

      8.   In addition to political content, I also post a lot of book reviews

on my TikTok account and love to engage with my followers about what

we are currently reading. I would be deeply saddened to lose access to

this remarkable community of fellow booklovers.

      9.   Finally, I make approximately half of my income from

creating videos on TikTok (either through the Creator Rewards Program

or brand deals). Although my first priority has always been helping to

grow and strengthen my community, if TikTok is banned, I will

immediately lose approximately half of my income stream.


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        10.   I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout

this judicial process.

I declare under penalty of perjury that the foregoing is true and correct.

        Signed in Charlotte, North Carolina this 9th day of December,

2024.




                                                          Kiera Spann




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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                       Respondent
                 .

 DECLARATION OF CHRISTOPHER TOWNSEND IN SUPPORT OF
         PETITIONERS’ EMERGENCY MOTION FOR
     INJUNCTION PENDING SUPREME COURT REVIEW

I, Christopher Townsend, declare as follows:

      1.   I make this declaration from personal knowledge.

      2.   I incorporate by reference the facts stated in my June 17, 2024

declaration.

      3.   If the Act, which bans TikTok in the United States, takes

effect in January 2025, it will severely impact me, my family, and my

community.




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      4.   I primarily use TikTok to carry out the mission of my non-

profit: to encourage a deeper understanding of the Bible and its relevance

in our lives and to inspire a lifelong love of learning and exploration of

Christian faith.     TikTok has been the most effective means of

communicating those messages, and I have been able to reach far more

people through TikTok than any other platform. Losing the ability to

share God’s words with others—particularly with new followers—even

for a limited amount of time, would be highly detrimental to the

community we serve and to our mission of increasing biblical literacy and

knowledge of Christian teachings.

      5.   I also use TikTok to discuss political issues from my

perspective as a conservative and a veteran. Over the past few months,

I have created a lot of content regarding the race for the U.S. presidential

election, in particular, campaigning for the Republican party and the now

President-Elect Donald J. Trump. I attended campaign rallies around

the country and posted coverage to TikTok—some of which was later

picked up by news outlets. I also posted videos explaining my political

opinions or interviewing others about the presidential race. I plan to

communicate further with my 2.6 million TikTok followers regarding the


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Inauguration    of   President-Elect     Trump     and     his    incoming

administration—which would be rendered impossible if the app is

banned on January 19, 2025, as currently scheduled. As a veteran, I feel

that losing the ability to speak about my political views on the platform

of my choice would be a gross violation of my First Amendment rights.

      6.   I also use TikTok to share my work as a musical artist. As

explained further in my original declaration, I have found TikTok to be

the best platform to promote my music—far better than other social

media apps in terms of its format and reach. TikTok also allows me to

collaborate with other musical artists through “duets” and other

methods—enabling a valuable creative process. Without TikTok, my

music will undoubtedly reach fewer people and gain less traction.

      7.   A TikTok ban would thus affect me and my family financially,

as one of our main sources of income is the money I earn each month from

music streams. The volume of these music streams on other platforms

depends largely on my ability to promote and share my music on TikTok,

because, in my experience, people are more likely to stream music they

have heard about. Because the success of my music is dependent on my

ability to share it on TikTok, even a temporary ban of the app would


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damage my income and my music career. This is especially true because

I am planning to release new music in January 2025, which coincides

with when the Act is scheduled to take effect. Not being able to promote

my new music on the most effective platform for music-sharing would be

devastating.

      8.   My family and I would also be financially affected by a TikTok

ban because I currently earn substantial income on TikTok through the

Creator Rewards Program and some brand partnerships—all of which

would evaporate if the Act takes effect. I have worked hard to develop

my TikTok content and my community of 2.6 million followers on the app.

The idea that the government could take it all away from me—even

before the judicial process is concluded—is troubling.

      9.   TikTok has brought great value to my life—not just

financially, but also because it allows me to express myself and share

ideas with others to an extent that I have not experienced on any other

platform. For the reasons explained further in my original declaration,

based on my experience, I do not think it would be possible to replicate

my TikTok network elsewhere. Even a temporary ban would bar me and

other creators from a critical space for expression and free speech.


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      10.   I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout

this judicial process.

      I declare under penalty of perjury that the foregoing is true and

correct.

      Signed in Philadelphia, Mississippi this 9th day of December, 2024.




                                             Christopher Townsend




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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                       Respondent
                 .

  DECLARATION OF PAUL TRAN IN SUPPORT OF PETITIONERS’
      EMERGENCY MOTION FOR INJUNCTION PENDING
               SUPREME COURT REVIEW

I, Paul Tran, declare as follows:

      1.   I make this declaration from personal knowledge.

      2.   I incorporate by reference the facts stated in my June 18, 2024

declaration.

      3.   If the Act takes effect in January 2025 as planned and TikTok

is banned in the United States, it will immediately and disastrously

affect me, my family, and my community.




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      4.   As described in my original declaration, my wife and I worked

very hard to launch our skincare company and to create products that we

believe in. This company means so much to us, and we have made

significant sacrifices to maintain it.

      5.   We currently sell approximately 90% of our products through

TikTok Shop (TikTok’s integrated e-commerce solution that allows

sellers to sell products directly on the platform), and almost all of our

marketing is through TikTok. In particular, we work with about 2,000

TikTok “affiliates” who create videos about our products in exchange for

a share in our revenue.

      6.   If TikTok is banned in January, our business may fail. We

would have to completely restructure how we sell and market our

products, and based on our experience, we would not be able to find any

remotely comparable alternatives to TikTok. Indeed, one of the reasons

we have relied so much on TikTok is because we previously struggled to

market our products through traditional advertising and other social

media apps—and failed to reliably sell our products through Amazon or

other websites. Nothing comes close to TikTok in terms of our ability to




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share and sell our products to large numbers of people, including new

viewers who are likely to be interested in skincare.

      7.   I am also concerned about the ban’s effect on TikTok affiliates

with whom my wife and I have worked closely for years. Some of them

have become good friends and a TikTok ban would eliminate a source of

their income overnight.

      8.   Even if TikTok was only banned for a few months, our

business would be severely impacted, and may not recover. Aside from

the fact that we would have to undergo the time and expense of moving

our marketing and sales to other (far less effective) platforms—only to

then move them back if the ban was repealed—we would also be unable

to promote the launch of some new products that we are currently

developing and intend to sell starting in the spring of 2025.

      9.   While the financial losses would be devastating, the loss of our

community following a TikTok ban would be just as harmful. My wife

and I have connected with TikTok users and creators all over the world

over our love of skincare, and truly cherish what we have built together.

Losing those connections, even temporarily, would be very isolating.




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      10.   I urge the Court to grant our emergency motion for an

injunction pending appeal and protect our access to TikTok throughout

this judicial process.

I declare under penalty of perjury that the foregoing is true and correct.

      Signed in Atlanta, Georgia this 9th day of December, 2024.




                                                          Paul Tran




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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

 BASED POLITICS, INC.,
         Petitioner,

 v.                                      No. 24-1183

 MERRICK B. GARLAND, in his
 official capacity as Attorney
 General of the United States,
             Respondent.


       DECLARATION OF HANNAH COX IN SUPPORT OF
      EMERGENCY MOTION FOR INJUNCTION PENDING
               SUPREME COURT REVIEW

I, Hannah Cox, declare as follows:

      1.    I make this declaration from personal knowledge.

      2.    I am the president and co-founder of BASED Politics, Inc.

(“BASED Politics”), the Petitioner in the above-captioned case.

      3.    BASED Politics, Inc. is a Georgia 501(c)(3) nonprofit

corporation.

      4.    A central part of BASED Politics’s mission is to reach

members of “Gen Z”—particularly users under 25 years old—with social

media content that promotes free markets and individual liberty.




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      5.    BASED Politics publishes its content on various internet

platforms, including TikTok, primarily through the accounts of its

founders, namely journalist Brad Polumbo and myself.

      6.    My TikTok account has approximately 59,500 followers.

      7.    My TikTok videos on topics such as systemic racism and the

gender pay gap have reached hundreds of thousands, and as many as

one million, people at a time.

      8.    I consider the ability to comment contemporaneously on

current events on TikTok to be essential to BASED Politics’s efforts to

participate in and influence public discourse.

      9.    I often comment on the President’s State of the Union

address and would like to comment on the ideas in the President’s

inaugural address in a TikTok video as soon as possible after it occurs

on January 20, 2025.

      10.   I also will want to comment contemporaneously on the

actions the Trump administration takes (or refrains from taking) in the

days and months after the inauguration, such as implementation of

tariffs, follow-through on threats related to release of hostages in the

Middle East, cuts the Department of Government Efficiency may make,



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confirmation of nominees to cabinet positions, and the potential

abolition of the Department of Education.

      11.   I expect that, in the days and months after the inauguration,

BASED Politics and I will want to comment contemporaneously on

TikTok about other actions taken or not taken by the Trump

Administration, which I cannot predict at this time.

      12.   I consider TikTok essential to communicate with BASED

Politics’s target audience of members of Gen Z. I do not know of any

other way that BASED Politics could reach the same audience, or even

a comparable audience. As I stated in my previous declaration in this

case, I have found it easier to gain a following—and therefore to spread

BASED Politics’s ideas—on TikTok than on Instagram, where I have

about 37 percent as many followers, even though I have been using that

platform for more than a decade. If TikTok is banned, BASED Politics

would lose its ability to reach its target audience, and would not be able

to reconstitute that audience on other platforms.

      I declare under penalty of perjury that the foregoing is true and

correct.

                   7th day of December, 2024.
      Signed this ___



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                                         Hannah Cox




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             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    )
 BRIAN FIREBAUGH, CHLOE             )
 JOY SEXTON, TALIA CADET,           )
 TIMOTHY MARTIN, KIERA              )
 SPANN, PAUL TRAN,                  )
 CHRISTOPHER TOWNSEND,              )
 and STEVEN KING,                   )
                       Petitioners, )
                                    )
      v.                            )
                                    )
 MERRICK B. GARLAND, in his         )
 capacity as United States Attorney )
 General,                           )
                                    )
                       Respondent
                 .

           DECLARATION OF AMBIKA KUMAR IN SUPPORT OF
               PETITIONERS’ EMERGENCY MOTION FOR
           INJUNCTION PENDING SUPREME COURT REVIEW

I, Ambika Kumar, declare as follows:

      1.     I am a partner in the law firm Davis Wright Tremaine LLP,

have been admitted to practice before this Court, and am counsel for

Petitioners in this matter.      I make this declaration from personal

knowledge and a review of the files and records in this matter.

      2.     Attached as Exhibit 1 is a true and correct copy of an article

titled TikTok Campaign Styles: Harris Remixed, Trump Filtered and




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dated           October         23,          2024,         available          at:

https://www.nytimes.com/2024/10/23/arts/trump-harris-tiktok-

accounts.html. Unless otherwise specified, my office obtained a copy of

the exhibits to my declaration, including this article, by visiting the

websites listed in each paragraph.

        3.    Attached as Exhibit 2 is a true and correct copy of an article

titled The Election Has Taken Over TikTok and dated October 21, 2024,

available                                                                     at:

https://www.nytimes.com/interactive/2024/10/21/business/media/2024-

election-tiktok-trump-harris.html.

        4.    Attached as Exhibit 3 is a true and correct copy of a document

posted by President-Elect Donald Trump’s account @realDonaldTrump

on the social media platform Truth Social on December 5, 2024, available

here:

https://truthsocial.com/@realDonaldTrump/posts/113602256512034876.

        5.    Attached as Exhibit 4 is a true and correct copy of an article

titled Trump Raises TikTok’s Hopes for a Rescue in the United States

and          dated     November        12,       2024,        available       at

https://www.nytimes.com/2024/11/12/technology/trump-tiktok-ban.html.


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      I declare under penalty of perjury that the foregoing is true and

correct.

      Signed in Seattle, Washington this 9th day of December, 2024.


                                         /s/ Ambika Kumar
                                             Ambika Kumar




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